    Case 1:20-cv-04160-JGK-OTW Document 97 Filed 07/07/22 Page 1 of 4




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



HACHETTE BOOK GROUP, INC.,
HARPERCOLLINS PUBLISHERS LLC,
JOHN WILEY & SONS, INC., and
PENGUIN RANDOM HOUSE LLC               Case No. 1:20-CV-04160-JGK

                       Plaintiffs,     ORAL ARGUMENT REQUESTED

     v.

INTERNET ARCHIVE and DOES 1 through
5, inclusive

                       Defendants.


              DEFENDANT INTERNET ARCHIVE’S NOTICE OF
                  MOTION FOR SUMMARY JUDGMENT


                                      DURIE TANGRI LLP
                                      Joseph C. Gratz (Pro Hac Vice)
                                      Jessica E. Lanier (Pro Hac Vice)
                                      Aditya V. Kamdar (Pro Hac Vice)
                                      Annie A. Lee (Pro Hac Vice)
                                      217 Leidesdorff Street
                                      San Francisco, CA 94111
                                      (415) 362-6666
                                      jgratz@durietangri.com
                                      jlanier@durietangri.com
                                      akamdar@durietangri.com
                                      alee@durietangri.com

                                      ELECTRONIC FRONTIER FOUNDATION
                                      Corynne McSherry (Pro Hac Vice)
                                      Kit Walsh (Pro Hac Vice)
                                      Cara Gagliano (Pro Hac Vice)
                                      815 Eddy Street
                                      San Francisco, CA 94109
                                      (415) 436-9333
                                      corynne@eff.org
                                      kit@eff.org
                                      cara@eff.org

                                      Attorneys for Defendant
                                      INTERNET ARCHIVE
         Case 1:20-cv-04160-JGK-OTW Document 97 Filed 07/07/22 Page 2 of 4




         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendant Internet Archive’s Motion for Summary Judgment; Defendant Internet Archive’s

Statement of Undisputed Material Facts Pursuant to L.R. 56.1; Declaration of Joseph Gratz in

Support of Defendant’s Motion for Summary Judgment, with exhibits; Declaration of Brewster

Kahle in Support of Defendant’s Motion for Summary Judgment, with exhibits; Declaration of

Dr. Imke Reimers in Support of Defendant’s Motion for Summary Judgment, with exhibits;

Declaration of Dr. Rasmus Jørgensen in Support of Defendant’s Motion for Summary Judgment,

with exhibits; Declaration of Susan Hildreth in Support of Defendant’s Motion for Summary

Judgment, with exhibits; Declaration of Laura Gibbs; Declaration of Benjamin Saracco;

Declaration of Lauren Sherman; Declaration of Daniel Smith; and all prior pleadings, orders, and

proceedings herein, Defendant Internet Archive, by its attorneys, hereby moves this Court for an

order pursuant to Rule 56 of the Federal Rules of Civil Procedure granting its motion for

summary judgment with respect to all claims in this matter.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the scheduling ordered entered by

this Court on January 21, 2022 (ECF No. 70), opposing papers, if any, must be served upon the

undersigned on or before September 2, 2022; and reply papers, if any, must be served on or

before October 7, 2021. Any oral argument will occur on a date and at a time designated by the

Court.



Dated: July 7, 2022                          DURIE TANGRI LLP


                                       By:                    /s/ Joseph C. Gratz
                                             Joseph C. Gratz (Pro Hac Vice)
                                             Jessica E. Lanier (Pro Hac Vice)
                                             Aditya V. Kamdar (Pro Hac Vice)
                                             Annie A. Lee (Pro Hac Vice)



                                                 1
Case 1:20-cv-04160-JGK-OTW Document 97 Filed 07/07/22 Page 3 of 4




                            217 Leidesdorff Street
                            San Francisco, CA 94111
                            (415) 362-6666
                            jgratz@durietangri.com
                            jlanier@durietangri.com
                            akamdar@durietangri.com
                            alee@durietangri.com

                            ELECTRONIC FRONTIER FOUNDATION
                            Corynne McSherry (Pro Hac Vice)
                            Kit Walsh (Pro Hac Vice)
                            Cara Gagliano (Pro Hac Vice)
                            815 Eddy Street
                            San Francisco, CA 94109
                            (415) 436-9333
                            corynne@eff.org
                            kit@eff.org
                            cara@eff.org

                            Attorneys for Defendant
                            INTERNET ARCHIVE




                                2
        Case 1:20-cv-04160-JGK-OTW Document 97 Filed 07/07/22 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I hereby certify that on July 7, 2022 the within document was filed with the Clerk of the

Court using CM/ECF which will send notification of such filing to the attorneys of record in this

case.

                                                                  /s/ Joseph C. Gratz
                                                                 JOSEPH C. GRATZ




                                                 3
